          Case
11/15/23, 12:34 PM8:22-cv-00581-WFJ-AEP                          Document 100-1      Filed Search
                                                                            User Contribution 11/16/23                    Page 1 of 28 PageID
                                                                         615
     ←New search




             Username: vanguardpub                         Page: J._David_Spurlock                                        Max edits: 500
             Database: enwiki
                 Don't resolve redirects
                 Allow wildcards in page title (*)
                 Page title is case sensitive (only applies when wildcards are used)
              Submit




     Found 33 edits by Vanguardpub on J. David Spurlock (24.81% of the total edits made to the page)

             16:43, 02 February 2010 (diff | hist) . . (+5) . . m J. David Spurlock (I fixed the ambiguous links to John Romita, Rue Morgue, George Pratt,
             Variety)
             16:41, 02 February 2010 (diff | hist) . . (+11) . . J. David Spurlock
             16:39, 02 February 2010 (diff | hist) . . (+9) . . J. David Spurlock
             16:37, 02 February 2010 (diff | hist) . . (+9) . . J. David Spurlock
             00:08, 01 February 2010 (diff | hist) . . (+2) . . m J. David Spurlock
             00:04, 01 February 2010 (diff | hist) . . (+25) . . m J. David Spurlock
             23:58, 31 January 2010 (diff | hist) . . (+1) . . J. David Spurlock
             23:52, 31 January 2010 (diff | hist) . . (-4) . . J. David Spurlock
             23:43, 31 January 2010 (diff | hist) . . (+0) . . J. David Spurlock
             23:42, 31 January 2010 (diff | hist) . . (+2) . . J. David Spurlock
             23:41, 31 January 2010 (diff | hist) . . (+8) . . J. David Spurlock
             23:30, 31 January 2010 (diff | hist) . . (+4) . . J. David Spurlock
             23:22, 31 January 2010 (diff | hist) . . (+0) . . J. David Spurlock
             23:20, 31 January 2010 (diff | hist) . . (-1) . . J. David Spurlock
             23:17, 31 January 2010 (diff | hist) . . (+24) . . J. David Spurlock
             23:16, 31 January 2010 (diff | hist) . . (+8) . . J. David Spurlock
             23:15, 31 January 2010 (diff | hist) . . (+14) . . J. David Spurlock
             23:13, 31 January 2010 (diff | hist) . . (+37) . . J. David Spurlock
             23:05, 31 January 2010 (diff | hist) . . (+4) . . J. David Spurlock
             23:04, 31 January 2010 (diff | hist) . . (+0) . . J. David Spurlock
             23:03, 31 January 2010 (diff | hist) . . (+8) . . J. David Spurlock
             23:01, 31 January 2010 (diff | hist) . . (+9) . . J. David Spurlock
             22:59, 31 January 2010 (diff | hist) . . (+4) . . J. David Spurlock
             22:56, 31 January 2010 (diff | hist) . . (+18) . . J. David Spurlock
             22:55, 31 January 2010 (diff | hist) . . (+17) . . J. David Spurlock
             22:52, 31 January 2010 (diff | hist) . . (+4) . . J. David Spurlock
             22:50, 31 January 2010 (diff | hist) . . (+76) . . J. David Spurlock
             22:47, 31 January 2010 (diff | hist) . . (+4) . . J. David Spurlock
             22:42, 31 January 2010 (diff | hist) . . (+16) . . J. David Spurlock
             22:41, 31 January 2010 (diff | hist) . . (+89) . . J. David Spurlock
             22:40, 31 January 2010 (diff | hist) . . (+266) . . J. David Spurlock
             22:34, 31 January 2010 (diff | hist) . . (+249) . . J. David Spurlock
             22:31, 31 January 2010 (diff | hist) . . (+55) . . J. David Spurlock

     Next 500 results →


     Elapsed time: 0.819 seconds.
     17:33:49, 15 Nov 2023
                                                                               EXHIBIT 1

     ←New search


         Powered by Toolforge                                                           © 2016 User:Σ




https://sigma.toolforge.org/usersearch.py?name=vanguardpub&page=J._David_Spurlock&max=500&server=enwiki                                                      1/1
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 2 of 28 PageID
                                     616




                                  EXHIBIT 2
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 3 of 28 PageID
                                     617
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 4 of 28 PageID
                                     618
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 5 of 28 PageID
                                     619
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 6 of 28 PageID
                                     620
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 7 of 28 PageID
                                     621




                                 EXHIBIT 3
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 8 of 28 PageID
                                     622
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 9 of 28 PageID
                                     623
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 10 of 28 PageID
                                      624
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 11 of 28 PageID
                                      625
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 12 of 28 PageID
                                      626
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 13 of 28 PageID
                                      627
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 14 of 28 PageID
                                      628
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 15 of 28 PageID
                                      629
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 16 of 28 PageID
                                      630
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 17 of 28 PageID
                                      631
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 18 of 28 PageID
                                      632




                                EXHIBIT 4
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 19 of 28 PageID
                                      633
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 20 of 28 PageID
                                      634
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 21 of 28 PageID
                                      635
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 22 of 28 PageID
                                      636
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 23 of 28 PageID
                                      637
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 24 of 28 PageID
                                      638
11/15/23,Case   8:22-cv-00581-WFJ-AEP
         11:46 PM                                    Document 100-1dvvddfvfvd
                                                                        Filed    11/16/23
                                                                              (2).jpeg                Page 25 of 28 PageID
                                                              639




                                                                         EXHIBIT 5

https://mail.google.com/mail/u/0/?tab=rm&ogbl#inbox/FMfcgzGwHfspfdFBbRFFLdPSthmXcDnJ?projector=1&messagePartId=0.2           1/1
1-WFJ-AEP   Document 100-1   Filed 11/16/23   Pa
                     640
1-WFJ-AEP   Document 100-1   Filed 11/16/23   Pa
                     641
Case 8:22-cv-00581-WFJ-AEP   Document 100-1   Filed 11/16/23   Page 28 of 28 PageID
                                      642
